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                                                                           U. S. D e p a rt m e nt of J usti c e

                                                                           U nit e d St at es Att or n e y
                                                                           S o ut h er n Distri ct of N e w Y or k


                                                                           T h e Sil vi o J. M oll o B uil di n g
                                                                           O n e S ai nt A n dr e w’s Pl a z a
                                                                           N e w Y or k, N e w Y or k 1 0 0 0 7


                                                                           Ja n u ar y 1 2, 2 0 2 1

B Y E CF                                                                                   T h e Cl er k of C o urt is r es p e ctf ull y dir e ct e d t o
                                                                                           t er mi n at e Mr. Z ol ki n d as c o u ns el f or t h e
T h e H o n or a bl e C at h y S ei b el                                                   G o v er n m e nt.
U nit e d St at es Distri ct C o urt
S o ut h er n Distri ct of N e w Y or k
3 0 0 Q u arr o p as Str e et
W hit e Pl ai ns, N Y 1 0 6 0 1

           R e:       U nit e d St at es v. M o n d u All a h, et al. , 1 5 C r. 5 0 9 ( C S)

D e ar J u d g e S ei b el :
                                                                                                                                         1/ 1 2/ 2 1
           P l e as e b e a d vis e d t h at I a m l e a vi n g t h e U nit e d St at es Att or n e y’s Offi c e f or ot h er
e m pl o y m e nt. A c c or di n gl y, pl e as e r e m o v e m e as c o u ns el of r e c or d i n t h e a b o v e- c a pti o n e d c as e.
T h a n k y o u v er y m u c h f or t h e C o urt’s c o nsi d er ati o n.



                                                                           R es p e ctf ull y s u b mitt e d,

                                                                           A U D R E Y ST R A USS
                                                                           A cti n g U nit e d St at es Att or n e y

                                                                 B y:      /s D o u gl as S. Z ol ki n d
                                                                           D o u gl as S. Z ol ki n d
                                                                           Assist a nt U nit e d St at es Att or n e y
                                                                           ( 2 1 2) 6 3 7- 2 4 1 8
